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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                         AT LOUISVILLE


UNITED STATES OF AMERICA                                                                               PLAINTIFF


v.                                                                   CIVIL ACTION NO. 3:16CR-101-CRS


PHILIP E. MICHAEL, II
MEDS 2 GO EXPRESS PHARMACY, INC.
MARK REINHARD                                                                                     DEFENDANTS


                                        MEMORANDUM OPINION


         This matter is before the court on motion of the defendants, Philip E. Michael, II

(“Michael”) and Meds 2 Go Express Pharmacy, Inc. (“Meds 2 Go”), to dismiss Counts 6, 7 and 8

and the motion of defendant Mark Reinhard to dismiss Count 6 of the Second Superseding

Indictment (“SSI”) for lack of venue.1,2

         The SSI charges Michael, Meds 2 Go, and Mark Reinhard,3 in Count 6 with unlicensed

wholesale distribution of prescription drugs.

         An indictment must provide a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed.R.Crim.P. 7(c).                       The purpose of an

indictment is “to inform the defendant of the nature of the accusation against him.” Russell, 369

1
  The United States has indicated that it intends to proceed under the Second Superseding Indictment. This court
will therefore address whether the charges therein are able to withstand the challenges raised in the present motion.
2
  In light of our ruling that Count 8 of the SSI must be dismissed, this decision need not address venue with respect
to that count. However, we note that the same venue analysis as to Count 7 (Health Care Fraud) would apply to
Count 8 (Aggravated Identity Theft).
3
  Euton Laing is an alleged “Issuing Doctor” for RX Limited, a company which purportedly sold prescription drugs
over the internet and employed “fulfillment pharmacies” such as Meds 2 Go which allegedly dispensed the drugs
without valid prescriptions.
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U.S. at 767 (quoting United States v. Hess, 124 U.S. 483, 487 (1888)). “The Federal Rules of

Criminal Procedure, 18 U.S.C.A., were designed to eliminate technicalities in criminal pleading

and are to be construed to secure simplicity in procedure. Rule 2, F.R.Crim.Proc.” United States

v. Debrow, 346 U.S. 374, 376 (1953). As explained by the Supreme Court as early as 1895, an

indictment need not be a literary work of art:

       T]he true test is, not whether it might possibly have been made more certain, but
       whether it contains every element of the offense intended to be charged, and
       sufficiently apprises the defendant of what he must be prepared to meet, and, in
       case any other proceedings are taken against him for a similar offense, whether
       the record shows with accuracy to what extent he may plead a former acquittal or
       conviction. Evans v. U. S., 153 U. S. 584, 587, 588, 14 Sup. Ct. 934; Batchelor v.
       U. S., 156 U. S. 426, 15 Sup. Ct. 446.

Cochran v. United States, 157 U.S. 286, 290, 15 S. Ct. 628, 630, 39 L. Ed. 704 (1895). The

indictment must be read as a whole, accepting the factual allegations as true, and construing

those allegations in a practical sense with all the necessary implications. United States v. Reed,

77 F.3d 139, 140 n. 1 (6th Cir.1996) (en banc). An indictment is to be construed liberally in

favor of its sufficiency. United States v. Davis, 306 F.3d 398, 411 (6th Cir.2002).

       When venue over a criminal charge is challenged, “the government must prove by a

preponderance of the evidence that venue is proper as to each individual count. United States v.

Pace, 314 F.3d 344, 349 (9th Cir.2002); United States v. Robinson, 275 F.3d 371, 378 (4th

Cir.2001).” United States v. Salinas, 373 F.3d 161, 163 (1st Cir. 2004). A defendant has the

right to be tried in a proper venue, and “[u]nless a statute or these rules permit otherwise, the

government must prosecute an offense in a district where the offense was committed.”

Fed.R.Crim.P. 18. Rule 18 comports with the mandate of the United States Constitution, Article

III and the Sixth Amendment which provide:


       The Trial of all Crimes, except in Cases of Impeachment, shall be by Jury; and
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        such Trial shall be held in the State where said Crimes shall have been committed;
        but when not committed within any State, the Trial shall be at such Place or
        Places as the Congress may by Law have directed.

Article III, Sec. 2, ¶ 3.

        In all criminal prosecutions, the accused shall enjoy the right to a speedy and
        public trial, by an impartial jury of the State and district wherein the crime shall
        have been committed, which district shall have been previously ascertained by
        law…


Amendment VI. “‘[W]here a crime consists of distinct parts which have different localities the

whole may be tried where any part can be proved to have been done.’ United States v.

Lombardo, 241 U.S. 73, 77, 36 S.Ct. 508, 60 L.Ed. 897 (1916).’ The Supreme Court has

therefore repeatedly approved as constitutionally permissible the prosecution of a crime in a

district in which the crime was committed only in part.” United States v. Myers, No. 15-2238,

2017 WL 1360775, at *6 (6th Cir. Apr. 14, 2017). As noted in Lombardo, “Undoubtedly where

a crime consists of distinct parts which have different localities the whole may be tried where

any part can be proved to have been done; or where it may be said there is a continuously

moving act, commencing with the offender and hence ultimately consummated through him, as

the mailing of a letter; or where there is a confederation in purpose between two or more persons,

its execution being by acts elsewhere, as in conspiracy.” 241 U.S. at 77.

        The defendants urge that under the substantial contacts test adopted by the Sixth Circuit

to determine venue, this court is an improper venue for prosecution of the crimes charged in

Counts 6, 7, and 8.

        In United States v. Williams, 788 F.2d 1213 (6th Cir.1986), we adopted from

        Reed, 773 F.2d 477, the substantial contacts test to determine venue. Both courts

        concluded:

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              “a review of relevant authorities demonstrates that there is no
              single defined policy or mechanical test to determine constitutional
              venue. Rather, the test is best described as a substantial contacts
              rule that takes into account a number of factors-the site of the
              defendant's acts, the elements and nature of the crime, the locus of
              the effect of the criminal conduct, and the suitability of each
              district for accurate fact finding....”

       Williams, 788 F.2d at 1215 (quoting Reed, 773 F.2d at 481).


United States v. Williams, 274 F.3d 1079, 1084 (6th Cir. 2001).


       Count 6 of the SSI charges that


       From on or about November 2012 to August 2014, and as part of a continuous
       course of conduct, PHILIP MICHAEL, MARK REINHARD, MEDS TO [sic]
       GO EXPRESS, and others, known and unknown by the Grand Jury, did
       knowingly engage in the wholesale distribution of a prescription drugs [sic], that
       is, Tramadol, in the states of Alabama and West Virginia, without ever having
       obtained a drug distribution licenses [sic] from the states of Alabama and West
       Virginia, as required by 21 U.S.C. 353€(2)(A). PHILIP MICHAEL, MARK
       REINHARD, and others, known and unknown by the Grand Jury, distributed the
       prescription drug Tramadol from West Virginia to Complete patient Services,
       another wholesale fulfillment pharmacy, located in Mobile, Alabama, said
       prescription drugs traveled through Kentucky.

SSI, ¶ 62.


       Count 7 of the SSI charges that


       On or about and between September 17, 2013, in the Western District of
       Kentucky, Jefferson County, Kentucky, and elsewhere, the defendant, PHILIP
       MICHAEL, knowingly and willfully executed, and attempted to execute, a
       scheme and artifice to defraud a health care benefit program, in connection with
       the delivery of a payment for health care benefits, items, and services, to wit:
       PHILIP MICHAEL fraudulently submitted a claim for payment to Humana
       Insurance Company for dispensing medication to P.R. which was never
       dispensed.

SSI, ¶ 64.


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       Count 8 of the SSI charges that

       On or about September 17, 2013, in the Western District of Kentucky, Jefferson
       County, Kentucky, and elsewhere, the Defendant herein, PHILIP MICHAEL,
       did knowingly possess, transfer and use the means of identification of another
       person, without lawful authority, during and in relation to the offense charged in
       Count 7, to with PHILIP MICHAEL possessed, transferred, and used the name,
       date of birth and other identifying information for P.R. and the name and NPI # of
       A.S., a physician, to submit a fraudulent claim for payment.

       Counts 7 and 8 charge that Michael submitted a fictitious claim to Humana Insurance

Company for the dispensing of a drug to P.R., and that Michael used identifying information for

P.R. and the physician number for physician A.S. in making that claim. We reject the argument

that these acts lack substantial contacts with Kentucky because Humana utilized the services of a

claims processor, Argus Health Systems, Inc., in Kansas. Michael cites no authority to support

his attempt to deflect the “locus of the effect of the criminal conduct” to the location of the

processing of the paperwork. To the extent that he argues that Humana, a Delaware corporation,

does business and has offices in fifty states, it is beyond dispute that there can be more than one

proper venue. In this case, Michael is charged in the Western District of Kentucky, the place in

which Humana is headquartered. The defendants have not identified any infirmity in this choice

of venue. The United States has established by a preponderance of the evidence that the SSI

properly placed venue in the Western District of Kentucky with respect to the crimes charged in

Counts 7 and 8.


       The defendants contend that venue is improper in the Western District of Kentucky with

respect to Count 6 inasmuch as the connection to this jurisdiction is limited to packages traveling

through the UPS HUB and on to their final destinations in other states. The defendants contend

that this cannot be proved. It is not the court’s role to weigh and determine facts which are


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disputed.   The defendants contend, however, that even if some packages came through

Kentucky, that simply does not constitute significant contact with this jurisdiction to justify

placing venue here, as any such contact is fortuitous by virtue of employing the services of UPS

as opposed to another carrier, and tangential to the essential conduct constituting the crime.


       However, the United States has charged this crime as part of a continuous course of

conduct in conducting an illegal internet pharmacy operation which, necessarily, required the

delivery of drugs via carriers such as UPS. The United States contends that venue is proper

pursuant to 18 U.S.C. § 3237(a) which provides that


       Except as otherwise expressly provided by enactment of Congress, any offense
       against the United States begun in one district and completed in another, or
       committed in more than one district, may be inquired of and prosecuted in any
       district in which such offense was begun, continued, or completed.

       Any offense involving the use of the mails, transportation in interstate or foreign
       commerce, or the importation of an object or person into the United States is a
       continuing offense and, except as otherwise expressly provided by enactment of
       Congress, may be inquired of and prosecuted in any district from, through, or into
       which such commerce, mail matter, or imported object or person moves.

We conclude that the United States has shown by a preponderance of the evidence that venue is

proper in the Western District of Kentucky with respect to Count 6. The motions to dismiss

Counts 6, 7, and 8 (DNs 73, 88) will be denied. A separate order will be entered herein this date

in accordance with this opinion.



IT IS SO ORDERED.
                    May 2, 2017
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